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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,         ) Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and    )
THE WING DC, LLC (dba THE WING aka        )
THE WING DC)                               )
                                           )
                        Defendants.       )
__________________________________________)

                           THE PARTIES’ JOINT REPORT PURSUANT TO
                                LOC.R. 16.3(d)/FED.R.CIV.P. 26(f)(3)

       Pursuant to Loc.R. 16.3(d), Fed.R.Civ.P. 26(f)(3), and the Court’s June 19, 2019 Order,

the parties, Plaintiff James E. Pietrangelo, II (“Plaintiff”), and Defendants Refresh Club, Inc. and

The Wing DC, LLC (collectively, “Defendants”), having conferred through counsel on June 26,

2019, and afterwards, hereby jointly submit the following report. In addition, a proposed sched-

uling order is attached.

I.     Loc.R. 16.3(c) Matters (1-16)/Fed.R.Civ.P. 26(f)(3) Matters (A-F)

        (1) Whether the case is likely to be disposed of by dispositive motion; and whether, if a
dispositive motion has already been filed, the parties should recommend to the Court that dis-
covery or other matters should await a decision on the motion.

       Defendants anticipate requesting that the Court dismiss the action for lack of sub-
ject matter jurisdiction due to a lack of complete diversity among the parties.

       Each party anticipates filing a motion for summary judgment following the close of
discovery, if not earlier. Plaintiff anticipates that his motion may be limited to liability
only.


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         No dispositive motion is pending.

      (2) The date by which any other parties shall be joined or the pleadings amended, and
whether some or all the factual and legal issues can be agreed upon or narrowed.

       Plaintiff requests 30 days from the date of filing of the Court’s Scheduling Order in
which to possibly amend the complaint with 1 additional cause of action, should he decide
to pursue such a cause of action. Defendants will oppose any such request.

         Neither party intends on joining additional parties.

      The parties anticipate that some factual and/or legal issues may be able to be agreed
upon or narrowed as discovery unfolds.

         (3) Whether the case should be assigned to a magistrate judge for all purposes, including
trial.

         Both parties oppose assignment of the case to a magistrate judge for any purpose.

         (4) Whether there is a realistic possibility of settling the case.

       The parties have held settlement discussions, which Plaintiff believed revealed that
the parties are too far apart for the possibility of settlement to be realistic.

       Defendants remain hopeful that the parties can reach a settlement and believe that
the parties should be able to reach an amicable resolution.

         (5) Whether the case could benefit from the Court’s alternative dispute resolution (ADR)
procedures (or some other form of ADR); what related steps should be taken to facilitate such
ADR; and whether counsel have discussed ADR and their response to this provision with their
clients.

        Plaintiff categorically opposes ADR. Defendants favor it and believe it could expe-
dite a resolution of the parties’ dispute.

         (6) Whether the case can be resolved by summary judgment or motion to dismiss; dates
for filing dispositive motions and/or cross-motions, oppositions, and replies; and proposed dates
for a decision on the motions.

         See (1) above, and proposed discovery plan below.




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        (7)/Covers (A) Whether the parties should stipulate to dispense with the initial disclo-
sures required by Fed. R. Civ. P. 26(a)(1), and if not, what if any changes should be made in the
scope, form or timing of those disclosures.

       The parties agree that the initial disclosures should not be dispensed with. The only
change to the disclosures that the parties request is in their timing. (See proposed discov-
ery plan below.)

        (8)/(Covers B) The anticipated extent of discovery, how long discovery should take, what
limits should be placed on discovery; whether a protective order is appropriate; and a date for the
completion of all discovery, including answers to interrogatories, document production, requests
for admissions, and depositions.

       The parties disagree as to the extent/scope of discovery.

        Plaintiff believes that Defendants’ answer’s extensive denials of Plaintiff’s complaint
allegations put into issue virtually every aspect of Defendants’ corporate existence and op-
erations from inception to present—including but not limited to the following subjects (in
no particular order): anything referenced or implicated by the complaint, answer, or mo-
tion to dismiss and opposition papers; Defendants’ corporate existence and structure; De-
fendants’ investors and capital; Defendants’ finances; Defendants’ bylaws; Defendants’ cus-
tomers/sales records, including but not limited to receipts; Defendants’ physical locations
and spaces; Defendants’ board of directors; Defendants’ employees and employment poli-
cies, procedures, and practices; Defendants’ vendors/contractors and vending/contracting
policies, procedures, and practice; Defendants’ membership and membership policies, pro-
cedures, and practice; Defendants’ relationships with governmental authorities, including
but not limited to licensing; the New York City Commission on Human Rights’ investiga-
tion of Defendants; Defendants’ public relations including advertising, publicity, and social
media; Defendants’ scholarship program; Defendants’ amenities, accommodations, ser-
vices, programs, and events, including but not limited to access thereto by members and
non-members; Plaintiff, his application, and Defendants’ response thereto and to this law-
suit; Defendants’ social media accounts and website; Defendants’ podcast, magazine, mo-
bile app., and camping retreat; Defendants’ child-care program; Defendants’ intellectual
property, including but not limited to trademarks; Defendants’ historical research; Defen-
dants’ business partnerships; Defendants’ merchandise; and Defendants’ business plans.
Plaintiff does not believe that discovery should be limited to Defendants’ D.C. location or
space or its policies and practices there simply by virtue of his claims being brought under
a D.C. statute, because, among other things, the public nature of Defendants and/or their
accommodations is at issue, Defendants in D.C. offer an all-access membership that allows
a person to use any of its locations/spaces, and Defendants’ overall policies and practices
are relevant to its policies and practices in D.C.




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        In contrast, Defendants believe that the subject matter of discovery should be limit-
ed to their membership policies and practices. Further, given that Plaintiff’s claims are
brought pursuant to a D.C. statute, Defendants believe that discovery should be limited to
issues pertaining to their membership policies and practices in Washington, D.C. Defen-
dants also believe that discovery should be limited to a reasonable time frame and should
not cover the entirety of The Wing’s existence.

       While recognizing that the length of the discovery period is also a function of the
extent of discovery, the parties agree that the discovery period should be at least 9 months.

        Plaintiff does not anticipate any need for a protective order for himself. Defendants
believe a protective order is appropriate and warranted in this case and are prepared to
confer in good faith to agree on the terms of such an order. At a minimum, the parties
agree that a protective order may be needed as to some of Defendants’ members’ personal
information, but the parties are in dispute and/or are uncertain at this time as to what ex-
act information needs to be protected. The parties anticipate addressing each matter po-
tentially requiring protection as it arises.

        The parties do not request phased discovery although Defendants have discussed
with Plaintiff providing limited discovery in order to potentially explore a potential resolu-
tion of the case.

       For discovery dates, see proposed discovery plan below.

        (9)/Covers (C) & (E) Any issues about disclosure, discovery, or preservation of electroni-
cally stored information, including the form or forms in which it should be produced.

        Plaintiff raised the issue of the possible spoliation of content on Defendants’ social
media accounts and website. Defendants responded that they had a “litigation hold” in
place since in or around the time the instant lawsuit was filed.

        Defendants raised the issue of the limit on the number of interrogatories each party
may propound. Defendants favor the normal limit—25 (including parts and subparts).
Plaintiff favors at least four times that number—100—due to Defendants’ answer’s exten-
sive denials of his complaint allegations and the considerable subject matter of discovery as
he anticipates it.

       The parties at this time do not request changes to the normal Rules provisions for
requests for production, requests for admission, and depositions (with depositions limited
to a maximum of one (1) day of seven (7) hours of testimony). The parties agree to make
reasonable efforts on dates for depositions convenient to the deponent, counsel and the par-
ties.



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       Otherwise, the parties agree to try to keep discovery as least burdensome to each
other as possible.

       (10)/Covers (D) Any issues about claims of privilege or of protection as trial-preparation
materials, including- if the parties agree on a procedure to assert these claims after production-
whether to ask the court to include their agreement in an order under Federal Rule of Evidence
502.

       Neither party anticipates any privilege issue. The inadvertent production or disclo-
sure of privileged or protected documents shall not constitute a waiver of that privilege or
protection.

        (11) Whether the requirement of exchange of expert witness reports and information pur-
suant to Fed. R. Civ. P. 26(a)(2), should be modified, and whether and when depositions of ex-
perts should occur.

       Neither party anticipates calling any expert witness, but have included additional
time in their proposed discovery plan to accommodate any potential expert witnesses.

        (12) In class actions, appropriate procedures for dealing with Rule 23, Fed .R. Civ. P.
proceedings, including the need for discovery and the timing thereof, dates for filing a Rule 23
motion, and opposition and reply, and for oral argument and/or an evidentiary hearing on the mo-
tion and a proposed date for decision.

       Not applicable as this case is not a class action and the parties do not anticipate the
addition of class allegations.

        (13) Whether the trial and/or discovery should be bifurcated or managed in phases, and a
specific proposal for such bifurcation.

        The parties agree that neither the trial nor discovery should be bifurcated, including
as to Plaintiff’s claim of punitive damages. However, Plaintiff requests bifurcation to any
extent required by law for his punitive-damages claim.

       (14) The date for the pretrial conference (understanding that a trial will take place 30 to
60 days thereafter).

        The parties request that the pretrial conference be scheduled for within 60 days af-
ter the Court’s decision on any dispositive motion(s), and, if no dispositive motion is filed,
within 60 days after the discovery deadline.




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       (15) Whether the Court should set a firm trial date at the first scheduling conference or
should provide that a trial date will be set at the pretrial conference from 30 to 60 days after that
conference.

       The parties request that the trial date be set at the pretrial conference.

        (16)/Covers (F) Such other matters that the parties believe may be appropriate for inclu-
sion in a scheduling order.

          Plaintiff anticipates possibly filing a motion for preliminary injunction in the near
future, depending upon the receipt of certain discovery from Defendants. Defendants will
oppose any such motion for a preliminary injunction and will seek what they believe would
be appropriate relief from the Court, including their attorneys’ fees and costs, should Plain-
tiff file a motion for a preliminary injunction given that Plaintiff’s application to The Wing
was filed over a year ago.

II.    Proposed Discovery Plan

EVENT                                          DATE OCCURRING ON/BY

Initial Disclosures                            Within 21 days from date of filing of this report

Fact Discovery Begins                          Date of filing of the Court’s Scheduling Order

Fact Discovery Ends                            Date at least 9 months from date of filing of
                                               the Court’s Scheduling Order

Expert Discovery Begins (if necessary)         Date fact discovery ends

Expert Discovery Ends (if necessary)           60 days after date on which fact discovery ends

Dispositive Motions (summary judgment)         Within 30 days from date on which all discovery
                                               ends

Oppositions Thereto                            Within 30 days from date on which any motion for
                                               summary judgment is filed

Replies Thereto                                Within 20 days from date on which any opposition
                                               is filed

Pretrial Conference                            Within 60 days of Court order on any motion(s) for
                                               summary judgment



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Trial                                      Within 60 days of pretrial conference.


                                    Respectfully submitted,

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                        Plaintiff,         ) Judge Dabney L. Friedrich
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            v.                             ) Civil Action No. 1:18-cv-01943-DLF
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REFRESH CLUB, INC. (dba THE WING), and    )
THE WING DC, LLC (dba THE WING aka        )
THE WING DC)                               )
                                           )
                        Defendants.       )
__________________________________________)

                              [PROPOSED] SCHEDULING ORDER

       This Court, having considered the parties’ Joint Report, and having conducted a hearing

on ____________, enters this Scheduling Order pursuant to Fed.R.Civ.P. 16 and Loc.R. 16.4.

EVENT                                      DATE OCCURRING ON/BY

Initial Disclosures                        Within 21 days from date of filing of parties’ Joint
                                           Report

Fact Discovery Begins                      Date of filing of this Scheduling Order

Fact Discovery Ends                        Date at least 9 months from date of filing of
                                           this Scheduling Order

Expert Discovery Begins (if necessary)     Date fact discovery ends

Expert Discovery Ends (if necessary)       60 days after date on which fact discovery ends

Dispositive Motions (summary judgment)     Within 30 days from date on which all discovery
                                           ends

Oppositions Thereto                        Within 30 days from date on which any motion for
                                           summary judgment is filed


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Replies Thereto                     Within 20 days from date on which any opposition
                                    is filed

Pretrial Conference                 Within 60 days of Court order on any motion(s) for
                                    summary judgment

Trial                               Within 60 days of pretrial conference.

        SO ORDERED.


DATED:______________________        _______________________________________
                                    UNITED STATES DISTRICT JUDGE




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